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   8                                    UNITED STATES DISTRICT COURT

   9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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  11   CHRISTY PALMER, et al.,                            No. 2:21–mc–229–TLN–KJN

  12                      Plaintiffs,                     ORDER TRANSFERRING MOTION TO THE
                                                          CENTRAL DISTRICT OF CALIFORNIA
  13          v.
                                                          (ECF No. 6)
  14   COGNIZANT TECHNOLOGY
       SOLUTIONS CORP., et al.,
  15
                          Defendants.
  16

  17          On September 15, 2021, the Cognizant defendants filed in this court a motion to quash a

  18   third-party subpoena. (ECF No. 1.) Defendants assert attorney-client privilege arguments on

  19   behalf of Biddle Consulting Group, Inc., a business located in this district that has provided

  20   services to Cognizant. The Cognizant entities are defendants in a suit brought by four plaintiffs in

  21   the Central District of California, case no. 17-cv.6848 DMG (PLA). Defendants ultimately had

  22   set their motion to quash for a hearing on October 28, 2021, before the undersigned. (ECF No.

  23   6.) On October 21, defendants submitted a motion to partially seal the parties’ joint letter and

  24   exhibits, submitting unredacted copies to chambers. (See ECF No. 7.)

  25          The motion to quash is referred to the undersigned pursuant to 28 U.S.C. § 636 and Local

  26   Rule 302(c)(1). Upon review of this court’s docket, filings in the Central District, and the parties’

  27   submissions, the undersigned finds “exceptional circumstances” counsel that the motion to quash

  28   be transferred to the Central District of California.
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   1           DISCUSSION

   2           Subpoenas are generally governed by Federal Rule of Civil Procedure 45, which allows

   3   for “the court where the action is pending” to issue a subpoena commanding a person to, among

   4   other things, “produce designated documents, electronically stored information, or tangible things

   5   in that person's possession, custody, or control[.]” Rule 45(a). Further, on a “timely motion, the

   6   court for the district where compliance is required must quash or modify a subpoena that . . .

   7   (iii) requires disclosure of privileged or other protected matter[.]” Rule 45(d).

   8           However, “[w]hen the court where compliance is required did not issue the subpoena, it

   9   may transfer a motion under this rule to the issuing court if the person subject to the subpoena

  10   consents or if the court finds exceptional circumstances.” Rule 45(f); Moon Mountain Farms,

  11   LLC v. Rural Cmty. Ins. Co., 301 F.R.D. 426, 428 (N.D. Cal. 2014) (noting that when a party

  12   opposes transfer of a motion related to the subpoena, the court may only transfer the motion

  13   “upon a finding of exceptional circumstances”). The Advisory Committee notes to Rule 45

  14   provide guidance as to when exceptional circumstances may be found:

  15                   [T]ransfer may be warranted in order to avoid disrupting the issuing
                       court's management of the underlying litigation, as when that court
  16                   has already ruled on issues presented by the motion or the same
                       issues are likely to arise in discovery in many districts. Transfer is
  17                   appropriate only if such interests outweigh the interests of the
                       nonparty served with the subpoena in obtaining local resolution of
  18                   the motion.
  19           Here, defendants are attempting to quash a subpoena served on Biddle Consulting Group,

  20   Inc. (ECF No. 6-4.) The subpoena was issued on July 23, 2021, by the Clerk of Court in the

  21   Central District of California, and seeks the following documents/ESI: “Since January 1, 2013, all

  22   presentations or analyses provided to, or communication with [defendants] concerning employee

  23   or applicant race, national origin, citizenship, and/or visa status.” (Id.) Defendants generally

  24   contend Biddle performed analyses on behalf of their legal department. (See ECF No. 6-1.)

  25   Thus, defendants seek to “relieve[] Biddle from any obligation to produce documents relating to

  26   adverse impact analyses or pay equity,” asserting those documents are protected by the attorney-

  27   client privilege. (Id.)

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   1          Plaintiffs argue, among other things, the judges in the underlying case have ruled on

   2   similar issues, and have recently extended the deadline for defendants to produce documents due

   3   in part to assertions of privilege. Defendants reply that this argument is speculative, contending

   4   their custodian may not produce potentially privileged communications with Biddle in the

   5   underlying litigation, and so this dispute may never arise in the Central District. 1

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         The parties filed a motion to seal the joint statement, declaration of plaintiff’s counsel, and
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       numerous exhibits. (ECF No. 7.) However, the parties did not provide the court with redacted
   8   versions of the filings. It is unnecessary to require the parties to submit redacted versions, due to
       the court’s transfer order. However, given that the court cites to portions of the joint statement in
   9   this order, the relevant arguments are produced here for reference, instead of needing to post
       unredacted versions on the docket.
  10
                  Defendants’ position: This Court Should Decide the Instant Motion.
  11              Because Biddle’s office is in Folsom, California, and compliance with the
                  Subpoena would occur in this District, this Court has jurisdiction to hear
  12              this motion . . . . This Court and not the court in which the underlying
                  litigation is proceeding is therefore the appropriate place to decide this
  13              dispute. Plaintiffs’ argument to the contrary is based on mere speculation
                  that future documents Cognizant will produce from custodian Abigail
  14              Israel might contain potentially privileged communications with Biddle
                  that might create a dispute between the parties as to privilege, which the
  15              parties might brief before the Court in the underlying litigation. Because
                  this hypothetical dispute may never materialize in the Central District, this
  16              Court should decide the instant dispute. Cognizant also has standing to
                  quash the Subpoena because the Subpoena requires disclosure of
  17              Cognizant’s privileged information. (citations omitted)
  18              Plaintiffs’ position: The Central District of California Should Decide This
                  Dispute. In the Underlying Litigation, Cognizant has asserted that a vast
  19              quantity of documents are protected by the attorney-client privilege and
                  thus are shielded from discovery. Judge Gee extended the schedule due to
  20              Cognizant’s failure to produce a significant number of documents that
                  Cognizant is still in the process of producing, including documents from
  21              Cognizant’s former Affirmative Action Director (Abigail Israel).
                  Cognizant is claiming privilege over Ms. Israel’s affirmative action
  22              materials and is producing a privilege log for these materials next week.
                  The parties will then brief and litigate the applicability of the attorney-
  23              client privilege to Cognizant’s affirmative action materials, a dispute that
                  will involve the exact same issues as the privilege dispute before this
  24              Court. In addition, Plaintiffs intend to appeal an order from Magistrate
                  Judge Abrams denying as untimely Plaintiffs’ motion to compel
  25              [affirmative action program] related documents for which Cognizant
                  claimed privilege, as the order issued before Plaintiffs were able to
  26              respond to Cognizant’s argument on that point. (citations omitted).
                  ***
  27              Accordingly, this Court should transfer the existing motion to the
                  Underlying Litigation, as having two courts decide the very same issue is
  28              inefficient and raises the possibility of inconsistent rulings.
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   1          The court assumes for the sake of argument that defendants have standing to bring this

   2   motion on behalf of Biddle. See, e.g., Am. Broad. Cos., Inc. v. Aereo, Inc., 2013 WL 1508894, at

   3   *2 (N.D. Cal. Apr. 10, 2013) (finding defendant possessed standing to quash third-party subpoena

   4   seeking its proprietary business information). Even so, the court finds exceptional circumstances

   5   exist to warrant transfer of this motion under Rule 45(f). This case has been before District Judge

   6   Gee and Magistrate Judge Abrams for over four years, and each judge has issued many

   7   procedural and substantive orders. See Christy Palmer et al. v. Cognizant Technology Solutions

   8   Corporation et al., 2:17-cv-06848-DMG-PLA. Since the pleadings were mostly settled in late

   9   2019, Magistrate Judge Abrams approved a protective order (id. at ECF No. 64), ruled on

  10   multiple discovery disputes between the parties (id. at ECF Nos. 136, 153), and issued multiple

  11   orders extending discovery deadlines in the case (id. at ECF Nos. 79, 143).

  12          Critical here, while the attorney-client privilege issue has only arisen in an ancillary

  13   fashion in previous discovery disputes, the undersigned cannot ignore the fact that Judge Abrams

  14   has considered the parties’ arguments on this issue in managing the course of the litigation. (See

  15   id. at ECF Nos. 136, 153.) Further, the parties appear at present to be locked in a dispute over the

  16   scope of the Central District’s scheduling orders—including whether defendants are still required

  17   to “produce documents they are withholding as attorney-client privileged related to their

  18   affirmative action program; and (2) produce documents shared with third parties, corporate

  19   policies and policy drafts, and attachments to emails shared with in-house counsel that defendants

  20   claim are attorney-client privileged.” (See id. at ECF No. 172.) Magistrate Judge Abrams—just

  21   last week—issued an order interpreting Judge Gee’s scheduling order and cutting off plaintiffs’

  22   ability to seek further discovery due to their lack of diligence. (See id. at ECF No. 172.) The

  23   undersigned notes plaintiffs’ subpoena was not served on Biddle until August 24, 2021—almost a

  24   month after the close of fact discovery (as apparently defined by District Judge Gee’s scheduling

  25   order and Magistrate Judge Abrams’s interpretation thereof). (See ECF No. 6-4.) Plaintiffs assert

  26   they intend to seek reconsideration of the Magistrate Judge Abrams latest order, and note

  27   defendants’ privilege log was just produced. (See FN 1, above.)

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   1          For reasons that should be readily apparent by the undersigned’s description set forth

   2   above of the underlying case, transfer of this motion to quash to the Central District is

   3   appropriate. See Rule 45(f) advisory committee's note (“[T]ransfer may be warranted in order to

   4   avoid disrupting the issuing court's management of the underlying litigation, as when that court

   5   has already ruled on issues presented by the motion or the same issues are likely to arise in

   6   discovery in many districts.”); Moon Mountain Farms, 301 F.R.D. at 429 (“When the issuing

   7   court has already ruled on issues presented by a subpoena-related motion, exceptional

   8   circumstances exist and the court of compliance may transfer the motion to the issuing court.”);

   9   see also, e.g., In re Perez by Allen, 2020 WL 7056024, *4 (N.D. Cal. Dec. 2, 2020) (“[T]he

  10   parties’ interest in avoiding inconsistent rulings on a question already briefed before the Texas

  11   court outweighs Mr. Perez's interest in obtaining local resolution of a motion to quash . . . .”);

  12   Bright House Networks, LLC v. MarkMonitor, Inc., 2020 WL 4464882, *2 (N.D. Cal. Aug. 3,

  13   2020) (finding transfer appropriate where the third party’s motion to quash was based

  14   substantially on the application of privileges belonging to plaintiffs); Argento v. Sylvania

  15   Lighting Servs. Corp., 2015 WL 4918065, *5 (D. Nev. Aug. 18, 2015) (“While this Court is no

  16   doubt capable of construing and applying an order issued in another District, it makes no sense to

  17   do so. How the undersigned and how Judge Holland view the discovery dispute may well differ.

  18   The issuing court has already addressed this issue and is in the best position to ensure that the

  19   resolution of the pending motion to compel comports with the prior ruling on the motion to

  20   quash.”); Williams v. Big Picture Loans LLC, 2018 WL 707605, *2 (N.D. Cal. Feb. 5, 2018)

  21   (finding exceptional circumstances where, among other things, the parties offer conflicting

  22   interpretations of the issuing court’s scheduling order and prior discovery disputes).

  23          Further, the court finds little, if any, burden on the third party in transferring this motion to

  24   the Central District. See Moon Mountain Farms, 301 F.R.D. at 430 (analyzing burdens placed on

  25   nonparty subpoena recipient because such burden is “the primary focus in determining whether

  26   transfer is appropriate”). Although Biddle is located in the Eastern District, the company itself

  27   has not appeared in this action. Instead, it appears to be following defendants’ lead in their

  28   assertion of attorney client privilege. (See ECF No. 6.) The motion to quash was brought by
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   1   defendants’ counsel on behalf of Biddle, and as noted above, defense counsel is no stranger to

   2   litigating in the Central District. See, e.g., Williams, 2018 WL 707605 at *2 (finding no burden

   3   placed on the third party in transferring the motion to quash, where the third party was “simply

   4   awaiting the outcome of the parties’ jurisdictional and privilege fights); 3B Medical, Inc. v.

   5   Resmed Corp., 2016 WL 6818953, *4 (S.D. Cal. Oct. 11, 2016) (finding no burden on third party

   6   where same attorneys represented third party and defendant).

   7              Thus, the undersigned finds transfer appropriate because Biddle’s minimal, if any, burden

   8   is heavily outweighed “by the importance of ensuring consistency in rulings on the issues

   9   involved, preserving judicial economy, and permitting the court with the most experience and

  10   knowledge of the facts to rule on these matters.” Moon Mountain Farms, 301 F.R.D. at 431; see

  11   also Rule 45(f) (noting that if a subpoena transferred under Rule 45(f) court is found to be

  12   enforceable, the issuing court may transfer the subpoena back to this district for enforcement of

  13   its order).

  14                                                   ORDER

  15              Accordingly, it is HEREBY ORDERED that:

  16              1. The hearing currently scheduled for October 28, 2021, is VACATED, and defendants’

  17                 motion to quash (ECF No. 6) is TRANSFERRED to the Central District of California;

  18              2. The parties’ motion to seal the joint statement and related documents (ECF No. 7) is

  19                 DENIED as moot, and the documents received by chambers will be returned to

  20                 counsel; and

  21              3. After transfer, the Clerk of the Court is directed to CLOSE this miscellaneous action,

  22                 as the motion to quash is the only matter of substance herein.

  23   Dated: October 25, 2021

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